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10
                           IN THE UNITED STATES DISTRICT COURT
11
12                                FOR THE DISTRICT OF ARIZONA
13    United States of America,                 Case No. 2:18-cr-00422-PHX-DJH
14
                               Plaintiff,           DEFENDANTS’ REPLY IN
15                                                  SUPPORT OF MOTION TO
      vs.                                            DISMISS SUPERSEDING
16                                                       INDICTMENT
17    Michael Lacey, et al.,

18                             Defendants.
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 1          In its Response, the government does not contest the key premises of Defendants’
 2   Motion: (1) “[t]he phrase ‘promote or facilitate,’ as used in the Travel Act, is equivalent to
 3   ‘aid or abet,’” Doc. 1557 at 4, Doc. 1557-1 at 45–46; and (2) aiding and abetting requires
 4   both the commission of an offense and that a defendant “intend[ed] to facilitate that
 5   offense’s commission.” Rosemond v. United States, 572 U.S. 65, 76 (2014). The Response does
 6   not identify any allegation in the Superseding Indictment (Doc. 230, “SI”) from which the
 7   grand jury could have determined that any Defendant’s actions constituted aiding and
 8   abetting a prostitution offense associated with any of the 50 charged ads. Because all the
 9   allegations in the indictment that purport to show Defendants’ knowledge and intent are
10   untethered to the publication of the ads forming the basis of the Travel Act charges, or any
11   associated prostitution offenses, the indictment alleges, at most, that Defendants agreed to
12   facilitate “a ‘possibility,’ or a criminal wish[,] which simply isn’t a crime.” United States v.
13   Superior Growers Supply, Inc., 982 F.2d 173, 178 (6th Cir. 1992).
14          No prior order has decided the narrow issues presented here. The arguments raised
15   are new and are prompted by the government’s recent assertions in the Woodhull appeal.
16   Deferring these issues until trial only invites error.
17          A.      The government does not dispute that “promote” and “facilitate” as
                    used in the Travel Act equate to aiding and abetting, and cannot evade
18                  alleging the elements of aiding and abetting.
19          The government does not dispute that, for a non-principal, a charge of “promoting”
20   or “facilitating” under the Travel Act is an aiding and abetting offense. See Doc. 1557-1 at
21   45–46. Nor does the government dispute the elements of aiding and abetting: someone else
22   committed an offense, the defendant acted with intent “to facilitate that offense’s
23   commission,” and the defendant’s intent went “to the specific and entire crime charged.”
24   Rosemond, 572 U.S. at 75–76; Doc. 1557 at 10. Seeking to salvage its defective indictment,
25   the government contends (at 9) that the elements of aiding and abetting are not “essential
26   elements” required in the indictment and that “whether an underlying state offense is ever
27   accomplished is irrelevant under the Travel Act.” These arguments fail.
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 1          First, the elements of aiding and abetting are “essential elements.” The Superseding
 2   Indictment does not charge Defendants with violating the Travel Act as principals, but with
 3   “the crime[] of facilitating prostitution.” SI ¶¶ 17; 196a (count 1, conspiracy to violate “18
 4   U.S.C. § 1952(a)(3)(A) (Travel Act – Facilitate Prostitution”); SI ¶ 200 (describing Counts 2-
 5   51 as “Travel Act – Facilitate Prostitution”). Regardless of what would be required for a
 6   principal, for these charges, the government cannot merely parrot the Travel Act to state an
 7   offense because the words “promote” and “facilitate” by themselves do not “fully, directly,
 8   and expressly, without any uncertainty or ambiguity, set forth all the elements necessary to
 9   constitute the offence intended to be punished,” Hamling v. United States, 418 U.S. 113, 117
10   (1974) (citation omitted). The government admits as much in Woodhull, when it explains that
11   “whatever meaning ‘promote’ or ‘facilitate’ might have in everyday speech,” they are “terms
12   of art” that “invoke[] traditional principles of accomplice liability” and “denote aiding-and-
13   abetting liability under traditional principles of criminal law,” and, as such, “bring[] the old
14   soil with it.” Doc. 1557-1 at 46, 58.
15          A valid indictment for promoting or facilitating another’s violation of state law under
16   the Travel Act must therefore “assert facts which in law constitute” the essential elements of
17   aiding and abetting, Superior Growers, 982 F.2d at 177. See also United States v. Omer, 395 F.3d
18   1087, 1088–89 (9th Cir. 2005) (failure to allege materiality was a “fatal flaw requiring
19   dismissal,” as materiality was an essential element because bank fraud statute “incorporates
20   the well-settled common-law meaning of fraud”).
21          None of the cases the government cites here (Doc. 1577 at 9 (collecting cases))
22   involves defendants alleged only to have “facilitated” the unlawful activity of others. In
23   United States v. Tavelman, 650 F.2d 1133, 1138 (9th Cir. 1981), for example, the defendant was
24   charged as a principal drug trafficker, not as a facilitator of another’s trafficking offense.
25          Second, contrary to the government’s assertion that the commission of a state-law
26   offense is irrelevant, the Ninth Circuit “require[s] that the specific elements of the underlying
27   law that constitute the unlawful activity be found as elements of the Travel Act offense.”
28   Myers v. Sessions, 904 F.3d 1101, 1110 (9th Cir. 2018). See also United States v. Hiatt, 527 F.2d


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 1   1048, 1051 (9th Cir. 1975). As discussed in the Motion (Doc. 1557 at 13), these cases are
 2   consistent with the government’s Woodhull concession.
 3          The government contends (at 10) that Hiatt is distinguishable because it does not hold
 4   that a state law violation “must be alleged” to “survive a motion to dismiss,” and that Myers
 5   can be ignored because it does not discuss directly “the pleading requirements for Travel Act
 6   indictments.” But in each case, the Ninth Circuit unequivocally states that the Travel Act
 7   requires, as an element, an actual state law violation. That the permissible scope of Travel
 8   Act liability was addressed in contexts other than a pre-trial motion to dismiss does not alter
 9   their Travel Act holdings or their application to an argument for pre-trial dismissal.
10          Moreover, the cases the government cites (at 9–10) shed little light on the question at
11   hand, as each involved Travel Act (or related) charges against principal offenders who either
12   committed (or attempted) the underlying state law offenses. 1 As they concern only principal
13   liability, those cases do not support the argument that a non-principal could be indicted for
14   facilitating “unlawful activity” without alleging aiding and abetting elements.
15          More fundamentally, the Response fails to explain how the government can square
16   its contention here that a state law violation is “irrelevant” with its position in Woodhull that
17   “promote” or “facilitate” means aiding and abetting, as aiding and abetting (1) aligns with
18   the text of the Travel Act, and (2) requires as “an essential element . . . the occurrence of the
19   underlying crime.” Superior Growers, 982 F.2d at 178.
20          B.      The government fails to show that the Superseding Indictment alleges
                    the elements of aiding and abetting.
21
22          The government cannot credibly contend that the indictment alleges the key elements
23   of aiding and abetting as it fails to allege, for any of the Travel Act counts, that someone
24
     1 See, e.g., United States v. Gordon, 641 F.2d 1281, 1283–85 (9th Cir. 1981) (defendants used

25   phones to bribe Nevada Gaming Commissioners); United States v. Stafford, 831 F.2d 1479,
     1480 (9th Cir. 1987) (defendant traveled to bribe a witness to prevent him “from informing
26   the FBI” of federal crimes); United States v. Welch, 327 F.3d 1081, 1086 (10th Cir. 2003)
     (alleging defendants orchestrated scheme to bribe Olympics Committee officials in violation
27   of state law); United States v. Montague, 29 F.3d 317, 318 (7th Cir. 1994) (charges against
     operator of escort businesses engaged in prostitution); United States v. Palfrey, 499 F. Supp. 2d
28   34, 37–38 (D.D.C. 2007) (same).

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 1   committed a prostitution offense, that each Defendant acted with intent “to facilitate that
 2   offense’s commission,” or that each Defendant’s intent went “to the specific and entire crime
 3   charged.” Rosemond, 572 U.S. at 75–76. Instead, the Response argues: (1) aiding and abetting
 4   is always implied; (2) the indictment alleges the state law offense of “offering” or “soliciting”
 5   prostitution; and (3) the indictment alleges intent by asserting “Defendants knew the vast
 6   majority of” Backpage’s “‘adult’ ads were for prostitution.” Each of these arguments fails.
 7                  1.     Although aiding and abetting is implied in indictments alleging
                           substantive offenses, a valid indictment must still allege an
 8                         offense in the first place.
 9          This motion does not dispute that the elements of aiding and abetting are implied
10   when a defendant is indicted as a principal of a substantive federal offense. However, where,
11   as here, a defendant is charged as a promoter of someone else’s offense, the indictment must
12   “assert facts which in law constitute” the essential elements of aiding and abetting. Superior
13   Growers, 982 F.2d at 177.
14                  2.     The indictment does not allege any underlying prostitution
                           offenses.
15
16          The government argues (at 11) that it adequately alleges prostitution offenses, if one
17   accepts that each charged ad actually was associated with illegal prostitution.
18          That is not so. The mere placement or publication of a facially lawful ad could not
19   violate, for instance, Arizona’s statute making it a crime to knowingly “offer[] to engage in
20   sexual conduct under a fee arrangement with any person for money or any other valuable
21   consideration,” A.R.S. § 13-3214(A).
22          Only one of the 50 charged ads contains anything close to an “offer[] to engage in
23   sexual conduct.” See SI ¶ 201 (Count 23) (listing prices for specific sex acts). “Sexual
24   conduct” does not mean “sexual” activity in general, but rather specific sex acts: “fondling”
25   or “manipulating” the “genitals, anus or female breast,” “sexual intercourse, oral sexual
26   contact or sadomasochistic abuse.” A.R.S. § 13-3211(8), (9). At the same time, advertising
27   for a wide range of sexual services, including for escort/dating services, stripping, live adult
28   shows, or other adult services, is lawful and First Amendment protected. See A.R.S. § 13-


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 1   1422 (defining lawful “adult oriented businesses”); A.R.S. § 9-500.10 (expressly allowing
 2   escort and escort agency ads). An ad stating “girlfriend experience” or “GFE” (see Counts
 3   27-51) is not an “offer” to exchange money for “fondling” or “sexual intercourse.” 2
 4                  3.      The indictment does not allege that Defendants knew about or
                            intended any specific prostitution offense.
 5
 6          Glaringly absent from the Superseding Indictment is any allegation that any
 7   Defendant knew of any charged ad, knew of any exchange for “sexual conduct under a fee
 8   arrangement” associated with any charged ad, or knowingly acted to facilitate such an act of
 9   prostitution. Instead, the government (Doc. 1577 at 12) falls back on its global allegations
10   that “Defendants knew the vast majority of [Backpage’s] ‘adult’ ads were for prostitution.”
11   The indictment does not allege which of these fifty are among the “vast majority,” or with
12   respect to any of the charged ads, that any Defendant had a “state of mind” that “extend[s]
13   to the entire crime,” or an intent “to facilitate that offense’s commission,” or even knew
14   about an offense’s commission. Rosemond, 572 U.S. at 75–76. The indictment’s failure to
15   allege the “essential elements” of “knowledge of the underlying crime and intent to further
16   it” compel dismissal. Superior Growers, 982 F.2d at 179-80.
17          The government’s reliance (Doc. 1577 at 12) the willful ignorance doctrine is utterly
18   misplaced. The classic application of that doctrine is in a drug smuggling case where a
19   defendant “was aware of a high probability that [e.g., drugs were in the defendant’s
20   automobile]” See Ninth Circuit Model Criminal Jury Instructions at 4.9; United States v. Jewell,
21   532 F.2d 697, 702 (9th Cir. 1976) (involving drugs sealed in a secret compartment of a
22
23
24   2  The government does not cite a single case where a person has been charged, must less
     convicted, of solicitation based only on an ad (even one proposing a necessarily unlawful
25   act). Instead, the government cites (at 11) two cases for the proposition that ads for “the
     sale of adults for sex” and “soliciting” are illegal. See Coyote Pub., Inc. v. Miller, 598 F.3d 592
26   (9th Cir. 2010) (rejecting legal brothels’ challenge to restrictions on prostitution advertising);
     Erotic Serv. Provider Legal Educ. & Research Project v. Gascon, 881 F.3d 792 (9th Cir. 2018)
27   (rejecting constitutional right to solicit and perform “sex for hire”). Those cases concern
     whether a state may restrict explicit prostitution ads, not whether someone could commit
28   “solicitation” with a facially lawful advertisement of sexual, adult-oriented services.

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 1   car). But a Travel Act charge is a specific intent crime that requires more than mere
 2   knowledge. United States v. Gibson Specialty Co., 507 F.2d 446, 449 (9th Cir. 1974).
 3          Even if the willful ignorance doctrine applied, it would apply only as to the 50 ads,
 4   as this Court has already ruled that “[Defendants] were not indicted for facilitating the
 5   amorphous notion of ‘prostitution.’ They were indicted for facilitating (via publishing ads)
 6   on fifty distinct occasions where prostitutes, prostitution-related businesses, or other groups
 7   were involved in the business of prostitution.” Doc. 946 at 13. There is no allegation
 8   (implied or otherwise) that Defendants ignored these particular 50 ads.            Rather, the
 9   government’s theory is that Defendants’ knowledge of any particular ad is irrelevant because
10   these are 50 instances among millions, and Defendants knew the “vast majority” were for
11   prostitution—a theory directly contrary to the traditional concepts of accomplice liability.
12   The doctrine of willful ignorance cannot cure the failure to allege an essential element of the
13   offense and the government does not cite any case to the contrary.
14          The government’s assertion that knowledge can be imputed to all Defendants because
15   Backpage’s business practices made “the publication of ads…reasonably foreseeable”
16   likewise cannot save its deficient indictment. First, whatever benefit Pinkerton liability may
17   afford the government with respect to its conspiracy charge, it has absolutely no application
18   to the Travel Act charges nor can it substitute for alleging the essential Travel Act elements.
19   Second, as to the conspiracy charge, although, under Pinkerton, a conspirator may be liable
20   for a co-conspirator’s reasonably foreseeable substantive crimes committed in furtherance
21   of the conspiracy, the indictment does not allege that any “co-conspirator” (i.e., any of the
22   six defendants, Carl Ferrer, or Dan Hyer) was the principal here -- the person who posted
23   any of the fifty charged ads. Thus, whether as to one of the Defendants or a co-conspirator,
24   there is no allegation of “knowledge of all elements of the underlying crime.” United States v.
25   McDowell, 498 F.3d 308, 315–16 (5th Cir. 2007) (reversing aiding-and-abetting conviction that
26   relied on “patently insufficient” “inference upon inference”).
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 1                  4.     The government cannot distinguish Superior Growers .
 2          At bottom, the Superseding Indictment fails for the same reasons the indictment in
 3   Superior Growers was dismissed—it “pil[ed] inference upon inference” to fashion “a dragnet
 4   to draw in all substantive crimes.” 982 F.2d at 179. See Doc. 1557 at 15–16. The government
 5   is simply wrong when it claims (at 12–13) that the cases “could not be more different”
 6   because Defendants, unlike those in Superior Growers, “purposefully developed their website
 7   into a massive online marketplace for prostitution ads,” “assisted prostitutes and pimps” in
 8   placing ads, and had reason to believe the “adult ads were overwhelmingly for prostitution.”
 9          The indictments in both cases allege broad aiding-and-abetting conspiracy to use
10   business practices (the sale of ads here; the sale of hydroponic and other growing equipment
11   there) to make money by facilitating others’ illegal acts (prostitution here; marijuana growing
12   there). In Superior Growers, the government alleged that defendants advertised in marijuana-
13   related publications, marketed their growing equipment for the cultivation of marijuana,
14   educated customers about marijuana cultivation, sold that equipment to customers who used
15   it to grow marijuana, knew that their customers would use it to grow marijuana, and
16   sometimes took payment in the form of illegal marijuana. See 982 F.2d at 175. The
17   indictment thus contained numerous allegations that the defendants knew that some (if not
18   the vast majority) of their customers would use their products for illegal purposes, yet the
19   Sixth Circuit affirmed the dismissal of the indictment. Id. at 176–78.
20          Critically, the Superior Growers indictment did not allege that defendants knew that their
21   cultivation instructions “were given with defendants’ knowledge that a particular customer
22   was planning to grow marijuana, and with defendants’ intent to assist that customer in
23   the endeavor.” Id. at 178 (emphasis added). In other words, the government’s allegations
24   that defendants knew the sale of their products would help some (even the “vast majority”)
25   of their customers violate the law were insufficient. The government had to allege both that
26   defendants knew that particular customers intended to violate the law and that defendants
27   intended to assist those customers do so. Failing that, the indictment alleged only a
28   conspiracy “to aid and abet a ‘possibility’ or a ‘criminal wish[,]’ which simply isn’t a crime.”


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 1   Id. 3 Superior Growers is the only case identified in which the government asserted a theory like
 2   the Travel Act charges in this case, the S.I. has the same failures as in Superior Growers, and
 3   Superior Growers compels dismissal.
 4          Tellingly, the government leans on United States v. Ulbricht, 31 F. Supp. 3d 540, 556
 5   (S.D.N.Y. 2014), the prosecution against the creator and operator of the dark-web Silk Road
 6   marketplace.    Doc. 1557 at 13. That case demonstrates exactly what is missing here:
 7   defendant’s direct involvement in criminal transactions by taking commissions on explicit
 8   narcotics sales, and even hiring hitmen to further his control over Silk Road. Ulbricht 31 F.
 9   Supp. 3d at 549. The government also points to guilty pleas for prosecutions against
10   myRedBook.com and RentBoy.com. Those untested guilty pleas do no more than the guilty
11   plea against Backpage to validate the government’s unprecedented Travel Act theory. See
12   Doc. 1099, 12/4/2020 Tr. at 38 (“And I think one of the key things in my reason for denying
13   the recusal is that this case is not about Backpage. Backpage was prosecuted in a separate
14   case, entered a plea in a separate case. This case is about these individual defendants and
15   whether they had specific knowledge of these ads as facilitating illegal activity.”).
16          C.      The Court should not defer until trial dealing with the issues raised here.
17                  1.     The issue presently before the Court has not been decided.
18          Relying on Docs. 793, 840, and 946, the government (at 7–8) contends that prior
19   orders act as a “law of the case” bar to the pending motion to dismiss, but those orders don’t
20   address the pending issue: given the government’s recently adopted position that “promote”
21   and “facilitate” under the Travel Act mean “aid” and “abet,” whether the indictment
22   sufficiently alleges that Defendants aided and abetted specific state law prostitution offenses.
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25
26   3 Cf., e.g., United States v. Sliwo, 620 F.3d 630, 636–37 (6th Cir. 2010) (reversing conviction
     when evidence “arguably shows that Defendant was engaged in a scheme with some sort of
27   criminal purpose” but “fails to demonstrate that Defendant knew that this conspiracy”
     involved the specific crime charged); United States v. Perez-Melendez, 599 F.3d 31, 43–44 (1st
28   Cir. 2010) (same).

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 1                  2.     The government created a legal issue that this Court must
                           address by taking in Woodhull and Hansen a position opposite
 2                         to the one it had taken in this case.
 3          The government created the need for this motion when it argued in November 2022
 4   that “promote or facilitate” under the Travel Act means “aid and abet.” Doc. 1557-1 at 45.
 5   The government reasserted at the January 11, 2023, oral argument before the D.C. Circuit
 6   that the terms promote or facilitate “invoke core concepts of aiding and abetting liability,
 7   and one of those core concepts, of course, is taking an actus reus that would in fact facilitate
 8   or promote the commission of the crime.” Doc. 1557-1 at 147, 150. The government
 9   reconfirmed this framing in a March 2023 oral argument before the Supreme Court in United
10   States v. Hansen. 4 Ex. A, Hansen Transcript, at 7:13-20 (asserting that a statue criminalizing
11   the encouragement of an offense uses words that—like promote or facilitate here—“connote
12   aiding . . . and abetting” which “bring the old soil with them.”) 5
13          The government’s positions in Woodhull and Hansen are irreconcilable with what it has
14   repeatedly argued here -- that it need not prove “the intent to violate the state prostitution
15   offense before [Defendants are] found guilty.” Doc. 1216-3 at 147; see also, e.g., Doc. 1216-3
16   at 104 (asserting that there is no need for Defendants to have intended to violate the state
17   prostitution offense).    Indeed, the government still insists (at 12) it is enough that
18   “Defendants knew the vast majority of their ‘adult’ ads were for prostitution and took steps
19   to intentionally facilitate that activity.” As explained above, § B.3, the government’s view of
20   the required intent here does not suffice under the traditional concepts of aiding and abetting.
21          The government urges (at 15–16) the Court to disregard its statements in Woodhull
22   because the statute at issue there (FOSTA) is not identical to the Travel Act, despite its
23   explicit argument that “the phrase ‘promote or facilitate,’ as used in the Travel Act, is
24   equivalent to ‘aid or abet,’” and that “FOSTA uses the phrase ‘promote or facilitate’ in the
25   same way . . . to denote aiding-and-abetting liability under traditional principles of criminal
26   law.” Doc. 1577-1 at 45–46 (emphasis added).
27
     4 The Court heard argument on March 27, 2023.       The Court’s decision is pending.
28   5 A transcript of the oral argument before the Supreme Court is attached as Exhibit A.



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 1          The different procedural postures of this case and Woodhull are of no significance.
 2   The government has stridently argued in Woodhull what “promote” and “facilitate” mean for
 3   non-principals under the Travel Act. Under the Fifth Amendment, that principle -- that a
 4   non-principal defendant must have facilitated a particular principal’s commission of a
 5   particular state law offense -- applies with equal force to an indictment or a facial challenge
 6   to a statute like FOSTA. See also New Hampshire v. Maine, 532 U.S. 742, 750 (2001) (noting
 7   possible consequences for party taking “clearly inconsistent” positions in litigation).
 8          Finally, this is the “proper vehicle for determining . . . the definitions of ‘promote,’
 9   ‘facilitate,’ or other Travel Act terms.” Doc. 1577 at 15. In Hansen, the government argued
10   at trial and before the Ninth Circuit that intent should be broadly defined, see United States v.
11   Hansen, No., 17-10548, 2022 WL 424827, at *2 (9th Cir. Feb. 10, 2022), only to reverse course
12   before the Supreme Court, conceding that the jury instructions it requested failed to
13   incorporate “the same old soil [that] comes with” a “traditional aiding-and abetting statute,”
14   causing error requiring remand and retrial. Ex. A, Hansen Transcript, at 10:19-23, 11:6-13.
15   The government invites the Court to make a similar error here.
16                  3.     The Government’s Remaining Arguments are Non-Responsive.
17          Double Jeopardy. Although the government posits (at 16-17) that it cannot re-indict
18   Defendants using 50 more “distinct occasions,” it fails to cite to a single point of law or court
19   order that actually supports this position, effectively conceding that, on the government’s
20   theory of the case, Defendants have no protection against being tried for 50 different ads.
21          Money Laundering. The pleas of Carl Ferrer, Dan Hyer, and Backpage to various
22   conspiracy offenses are of no consequence, as those pleas do not establish that the specific
23   funds the government alleges were laundered were proceeds.             Likewise, even though
24   Defendants could, theoretically, be convicted of money laundering without having
25   committed the offense that generated the subject proceeds (Doc. 1577 at 17), Defendants
26   cannot have laundered money without either engaging in an offense or knowing that the
27   subject monies resulted from a criminal offense.
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 1          Grand Jury. The government seeks (at 18) to obfuscate, arguing about the disclosure
 2   of transcripts, but Defendants have not asked for transcripts to be disclosed—only that the
 3   Court review the instructions previously produced for in camera review to confirm the
 4   deficiencies in the government’s instructions to the grand jury. And, putting aside the dicta
 5   the government cites from United States v. Kenny, 645, 1323, 1347 (9th Cir. 1981), as to whether
 6   it must instruct a grand jury, there is no question that, once instructions are provided, they
 7   must correctly state the law. United States v. Navarro, 608 F.3d 529, 539 (9th Cir. 2010).
 8          DATED this 12th day of May, 2023.
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